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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------------------------------- x
 STATE OF NEW YORK, et al.,

                           Plaintiffs,                              20 Civ. 5770 (JMF)

                  v.

DONALD J. TRUMP, in his official capacity as
President of the United States, et al.,

                           Defendants.
 ------------------------------------------------------------- x
 ------------------------------------------------------------- x
NEW YORK IMMIGRATION COALITION,
et al.,
                                                                    20 Civ. 5781 (JMF)
                           Plaintiffs,

                  v.                                                Notice of Appeal

DONALD J. TRUMP, in his official capacity as
President of the United States, et al.,

                           Defendants.
 ------------------------------------------------------------- x

        Notice is hereby given that all defendants in the above-named cases hereby appeal to the
Supreme Court of the United States from the final judgment entered on September 10, 2020. This
appeal is taken under 28 U.S.C. § 1253.

                                                              Respectfully submitted,


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                                      Certificate of Service

The foregoing Notice of Appeal will be filed with the CM/ECF system of the United States
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service by notification of electronic filing to the following counsel:


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